        Case: 3:22-cv-00400-jdp Document #: 136 Filed: 11/24/23 Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

STACY L. RANDALL,

                       Plaintiff,

       v.
                                                                 Civil Action No. 22-cv-400
REED C. WIDEN, MICHAEL KIESLER,
WIDEN ENTERPRISES, LLC, and
WINDY WATERS, INC.,

                       Defendants.


  DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
          PROPOSED EXPERT TESTIMONY OF BRUCE HUTLER


       In a motion to strike (ECF No. 104), Plaintiff asks this Court to strike three paragraphs

(¶¶ 12-14) from the declaration of Bruce Hutler (ECF No. 68) (“Hutler Declaration” or “Hutler

Decl.”), which was submitted in support of Defendants’ motion for summary judgment (ECF No.

68). Plaintiff’s motion to strike should be denied for either of two sufficient reasons. First, any

opinions contained in the Hutler Declaration do not require a written report under Rule 26(a)(2)(B)

of the Federal Rules of Civil Procedure because Hutler formed and shared those opinions with

Defendants in the course of his long relationship with them, so is not an expert retained specifically

and solely for purposes of this case. Second, even assuming Hutler’s opinions are subject to Rule

26(a)(2)(B), then Plaintiff’s motion is premature. Defendants’ deadline to disclose expert

witnesses and produce their associated reports is December 1, 2023, and will provide a complete

disclosure of Hutler as an expert witness by that deadline. Plaintiff cites no authority for

disregarding a declaration from a potential expert for purposes of summary judgment before the

expert disclosure deadline has passed. Plaintiff’s motion to strike should be denied.
        Case: 3:22-cv-00400-jdp Document #: 136 Filed: 11/24/23 Page 2 of 8




                                            Background

       Bruce Hutler is a principal at the accounting firm of Baker Tilly US, LLP where he has

worked for 25 years. Hutler Decl. ¶ 1. Windy Waters has been advised by Baker Tilly for over 20

years, and Hutler was one of the company’s key advisors. Id. ¶ 3. In 2003, Hutler provided a

valuation of Windy Waters stock to Defendant Reed Widen and Plaintiff Stacy Randall. Id. ¶ 4. In

2004, Hutler provided a follow-up report, again providing a valuation of Windy Waters stock, this

time as of April 30, 2004. Id. ¶¶ 5-8, Ex. 6. This valuation was used to create the formula that is at

the center of this case, which was used to calculate a price for Plaintiff’s stock each time she sold

shares—including the final stock redemption that she seeks to challenge in this lawsuit. See id.

¶¶ 9-11.

                                              Argument

       The motion to strike should be denied for two reasons, either of which is sufficient to deny

the motion. First, Hutler has provided advisory services to Windy Waters for 20 years, so he is not

a witness “retained or specially employed to provide expert testimony in the case,” Fed. R. Civ. P.

26(a)(2)(B), and so is not an expert who must provide a written report. Second, Defendants’ expert

disclosures are not due until December 1. None of the authorities Plaintiff cites involve striking

portions of declarations from experts at summary judgment at all, much less before the disclosure

deadline has passed.

I.     The opinions set forth in the Hutler Declaration are not subject to Rule 26(a)(2)(B).

       Rule 26(a)(2) divides expert witnesses into two categories—those who must provide a

written report, and those who do not provide a written report—and describes the required contents

of disclosures for each. The rule states, in relevant part:

               (A) In General. In addition to the disclosures required by Rule
               26(a)(1), a party must disclose to the other parties the identity of any

                                                   2
        Case: 3:22-cv-00400-jdp Document #: 136 Filed: 11/24/23 Page 3 of 8




               witness it may use at trial to present evidence under Federal Rule of
               Evidence 702, 703, or 705.

               (B) Witnesses Who Must Provide a Written Report. Unless
               otherwise stipulated or ordered by the court, this disclosure must be
               accompanied by a written report--prepared and signed by the
               witness--if the witness is one retained or specially employed to
               provide expert testimony in the case or one whose duties as the
               party's employee regularly involve giving expert testimony. The
               report must contain: (i) a complete statement of all opinions the
               witness will express and the basis and reasons for them; (ii) the facts
               or data considered by the witness in forming them; (iii) any exhibits
               that will be used to summarize or support them; (iv) the witness's
               qualifications, including a list of all publications authored in the
               previous 10 years; (v) a list of all other cases in which, during the
               previous 4 years, the witness testified as an expert at trial or by
               deposition; and (vi) a statement of the compensation to be paid for
               the study and testimony in the case.

               (C) Witnesses Who Do Not Provide a Written Report. Unless
               otherwise stipulated or ordered by the court, if the witness is not
               required to provide a written report, this disclosure must state: (i)
               the subject matter on which the witness is expected to present
               evidence under Federal Rule of Evidence 702, 703, or 705; and (ii)
               a summary of the facts and opinions to which the witness is expected
               to testify.

Fed. R. Civ. P. 26(a)(2)(A)-(C). That is, only expert witnesses that were engaged specifically for

purposes of the case have to provide a written report; disclosure of all other experts need only

contain the subject matter and a summary of the facts and opinions. None of these disclosures are

required until the time set by court order. Fed. R. Civ. P. 26(A)(2)(D).

       In the context of a treating physician in a personal injury case, the Seventh Circuit has

explained a dividing line: If the expert formed the opinions in the course of their employment and

prior relationship with the party, those opinions are not required to be disclosed in a written report,

but if the opinion was only formed specially after the fact for purposes of the case, a written report

was required. See Meyers v. Nat’l R.R. Passenger Corp. (Amtrak), 619 F.3d 729, 734 (7th Cir.

2010). Cases after Rule 26 was amended in 2010 have called Meyers into doubt and suggested that


                                                  3
           Case: 3:22-cv-00400-jdp Document #: 136 Filed: 11/24/23 Page 4 of 8




even a treating physician who did not form the opinion at issue during the course of treatment may

not be required to submit a report under Rule 26(a)(2)(B). See, e.g., Coleman v. Am. Fam. Mut.

Ins. Co., 274 F.R.D. 641, 643-45 (N.D. Ind. 2011) (finding the amendment to Rule 26 “overcomes

the holding” of Meyers and holding that a treating physician is not required to submit an expert

report under Rule 26(a)(2)(B) even for later-formed opinions because they were not retained for

the express purpose of giving testimony).

           The opinions contained in paragraphs 12-141 of the Hutler Declaration are appropriate and

admissible even without a written report under Rule 26(a)(2)(B) of the Federal Rules of Civil

Procedure. As Plaintiff acknowledges, Hutler has been a long-standing advisor to Defendant

Windy Waters, Inc. and provided input on matters related to this case—he authored the 2004

valuation that was used as a starting point for the formula that was used by Windy Waters to

calculate a per-share price for stock redemptions and stock subscriptions, and he provided input to

the corporation’s treasurer on application of that formula. Hutler Decl. ¶¶ 3-14; see also

Declaration of Michael Kiesler, Sept. 29, 2023, (ECF No. 74) (“Kiesler Decl.”) ¶ 40. To the extent

paragraphs 12-14 of the Hutler Declaration contain any expert opinions at all, they are opinions




1
    Paragraphs 12-14 of the Hutler Declaration read as follows:
           12. For a company like Windy Waters, the market for its shares is severely limited because very few
           persons are willing to purchase a minority block of shares in a family-operated, privately owned
           company and, if they are willing to do so, they demand a large discount from the pro rata value.
           Unless the company agrees to buy the shares back or other shareholders agree to purchase the shares,
           or the company is obligated to do so based on an existing agreement, a minority shareholder often
           has no way to sell their shares and exit from ownership. As a result, the shares of a minority owner
           are heavily discounted.
           13. To address the concerns of minority shareholders from the lack of an ability to exit from
           ownership, it is common for corporations and their shareholders to agree on the use of a formula by
           which shares will be redeemed if the shareholder is interested in selling their shares. Often, the
           formula does not reflect fair market value. Instead, it is simply a formula agreed upon by
           shareholders by which their stock will be redeemed if they wish to do so. This is done as a courtesy
           to the shareholder, who would otherwise not have a market to provide liquidity for their shares.
           14. If the formula in the Second Amendment to Shareholder Agreement resulted in a number below
           book value, the book value of the shares would be appropriate and fair to use instead.

                                                            4
        Case: 3:22-cv-00400-jdp Document #: 136 Filed: 11/24/23 Page 5 of 8




that were formed and shared with Windy Waters during the course of Hutler’s long-standing

relationship with his client.

       For example, the last paragraph of the Hutler Declaration, addressing the fairness of using

the book value for shares if that ever exceeded the formula price, recites exactly the advice he gave

to Defendant Michael Kiesler that is the reason he compared the formula price to book value from

that point forward. Compare Hutler Decl. ¶ 14 with Kiesler Decl. ¶¶ 39-41. Similarly, Hutler’s

opinions and observations about the lack of market for minority shares in family-operated

corporations and the use of formulas to facilitate and simplify stock transactions is the reason

Windy Waters created a formula for calculating stock prices. Compare Hutler Decl. ¶¶ 12-13 with

ECF No. 112, ¶¶ 4-5. See also Kiesler Decl. ¶¶ 39-41, 44-45. ECF No. 67, ¶¶ 33-35, 50-51, 55;

ECF No. 108, ¶ 19. These observations and opinions are based upon and related to Hutler’s

involvement with Windy Waters, which spanned decades. The opinions existed well before any

anticipated litigation in the current action. For these reasons, even if paragraphs 12-14 of the Hutler

Declaration include expert opinions, they are not opinions that would require Hutler to submit a

full report under Rule 26(a)(2)(B).

       The Hutler Declaration sets forth Hutler’s qualifications and the subject matter, facts, and

opinions relevant to Defendants’ motion for summary judgment. To the extent any compliance

with Rule 26(a)(2)(C) is required before the disclosure deadline for evidence offered in support of

summary judgment, the Hutler Declaration itself meets those requirements. Plaintiff’s motion to

strike should therefore be denied.

II.    Plaintiff’s motion is premature.

       If paragraphs 12-14 of the Hutler Declaration are deemed subject to Rule 26(a)(2)(B), then

Plaintiff’s motion to strike paragraphs 12-14 of the Hutler Declaration is premature. Defendants



                                                  5
        Case: 3:22-cv-00400-jdp Document #: 136 Filed: 11/24/23 Page 6 of 8




have until December 1, 2023, to disclose expert witnesses and serve expert reports. Defendants

intend to name Hutler as one of their experts and, to err on the side of caution, intend to provide a

written report outlining his qualifications and opinions, even though some or all of his opinions

were formed during the course of his relationship with Defendants and do not require a full written

report. Among Hutler’s opinions will be those reflected in paragraphs 12-14 of the Hutler

Declaration. As discovery has not closed, Plaintiff will have sufficient time to analyze Hutler’s

qualifications and challenge any opinions well in advance of trial.

        It is well settled that “the purpose of [expert] reports is not to replicate every word that the

expert might say on the stand.” Walsh v. Chez, 583 F.3d 990, 994 (7th Cir. 2009). As Plaintiff

notes in her brief in support of her motion, the expert disclosure requirement is meant to “provide

adequate notice of the substance of the expert’s forthcoming testimony and to give the opposing

party time to prepare for a response.” ECF No. 104 at 3 (quoting Meyers, 619 F.3d at 734 (emphasis

added)); see also id. at 6 (“[Reports] enable the opposing party to prepare for trial . . . .” (emphasis

added)). Thus, the purpose of the expert disclosure requirements is simply to provide notice to an

opposing party for purposes of future activity in the case including cross-examining the expert at

deposition or trial. It is not a requirement related to summary judgment.

        The cases cited by Plaintiff in support of her motion to strike are not on point. Plaintiff

does not cite a single case in which a declaration submitted by a potential expert in support of

summary judgment is stricken because the party did not also disclose a full written report. Plaintiff

cites two cases holding that evidence considered on summary judgment must be admissible at trial,

Malin v. Hospira, Inc., 762 F.3d 552, 554-55 (7th Cir. 2014), and Gunville v. Walker, 583 F.3d

979, 985-87 (7th Cir. 2009), both of which address whether evidence is hearsay. Plaintiff also cites

three cases addressing whether witnesses not timely disclosed under Rule 26(a) could testify at



                                                   6
         Case: 3:22-cv-00400-jdp Document #: 136 Filed: 11/24/23 Page 7 of 8




trial, unrelated to summary judgment: In one, lay (not expert) testimony was involved and the

court granted a motion in limine to exclude that testimony for trial. Eurochem N. Am. Corp. v.

Ganske, No. 18-CV-16, 2020 WL 747008, at *3-4 (W.D. Wis. Feb. 14, 2020). In another, the court

allowed the expert testimony even though the expert had not been disclosed timely. Novum

Structures, LLC v. Larson Eng’g, Inc., No. 16-CV-1568, 2019 WL 1926188, at *2-4 (E.D. Wis.

Apr. 30, 2019). In the third, the Seventh Circuit affirmed a ruling that a party’s chairman could not

offer an expert opinion at trial supporting a damages model because the party had only disclosed

its chairman as a lay witness and had not timely provided a summary of his expert opinions under

Rule 26(a)(2)(C). Karum Holdings LLC v. Lowe’s Cos., 895 F.3d 944, 953 (7th Cir. 2018). Plaintiff

cites not a single case attempting to support the leap to Plaintiff’s conclusion that opinions

contained in a declaration before the expert disclosure deadline cannot be considered on summary

judgment.

         The rule that an expert not disclosed by the deadline for expert disclosures cannot testify

at trial is irrelevant and inapplicable. Plaintiff does not and cannot say Hutler was not disclosed as

an expert witness by the deadline because that deadline has not yet passed. Defendants have until

December 1, 2023, to make their expert disclosures, including any required written reports.

Preliminary Pretrial Conference Order (ECF No. 22) at 2. Defendants will disclose Hutler as an

expert by the deadline, and file his expert report with the Court, to ensure all disclosure

requirements have been satisfied. His opinions will be admissible at trial. Plaintiff, of course, is

free to refute the statements contained in paragraphs 12-14 at trial.2 There is no basis to strike




2
  For purposes of summary judgment, however, Plaintiff has not submitted any contradicting evidence. See ECF No.
115, ¶¶ 96-99. Plaintiff’s own evidence is in agreement with Hutler’s declaration. See ECF No. 117, ¶ 5, Ex. 3, at 44
(“The fair market value of a closely (or privately) held company . . . is normally discounted to reflect the fact that a
ready market for the interest does not exist. In order for the interest holder to gain liquidity, the privately held company
would have to ‘go public’ or be sold.”).

                                                             7
        Case: 3:22-cv-00400-jdp Document #: 136 Filed: 11/24/23 Page 8 of 8




paragraphs 12-14 of the Hutler Declaration and exclude it from consideration on summary

judgment.

                                            Conclusion

       Plaintiff’s motion is very limited in scope: It seeks only to strike three paragraphs in the

Hutler Declaration and only for purposes of consideration on summary judgment. Even with this

narrow scope, the motion is without merit. None of the challenged paragraphs in the Hutler

Declaration contain opinions that require a full written report. Even if any disclosure were required,

the Hutler Declaration is sufficient. Additionally, Defendants’ deadline to disclosure experts has

not yet passed, which distinguishes every case Plaintiff cites in support of a request to strike the

paragraphs for purposes of summary judgment. Plaintiff’s motion to strike (ECF No. 104) should

be denied.


Dated: November 24, 2023                       Respectfully submitted,

                                               s/Christa D. Wittenberg
                                               Dean P. Laing
                                               Christa D. Wittenberg
                                               O’Neil, Cannon, Hollman, DeJong & Laing S.C.
                                               111 East Wisconsin Avenue, Suite 1400
                                               Milwaukee, Wisconsin 53202
                                               Phone: 414.276.5000
                                               dean.laing@wilaw.com
                                               christa.wittenberg@wilaw.com

                                               Mark H. Churchill
                                               Martin Durkin
                                               Sarah Morain
                                               HOLLAND & KNIGHT LLP
                                               1650 Tysons Boulevards, Suite 1700
                                               Tysons, Virginia 22102
                                               Phone: 703.720.8600
                                               mark.churchill@hklaw.com
                                               martin.durkin@hklaw.com
                                               sarah.morain@hklaw.com

                                               Attorneys for Defendants
                                                  8
